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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION
In re:

RALPH LEVI SANDERS, JR.                                               CASE NO. 19-24331-PDR
                                                                      CHAPTER 13
                  Debtor.
_______________________________/

                      MOTION TO COMPEL MODIFICATION OF PLAN

         Specialized Loan Servicing, LLC as servicing agent for The Bank of New York Mellon,

f/k/a The Bank of New York, successor in interest to JPMorgan Chase Bank, N.A. as Trustee for

Bear Stearns Asset Backed Securities Trust 2006-SD2, Asset-Backed Certificates, Series 2006-

SD2 (“Movant”) files its Motion to Compel Modification of Plan and states:

         1.    Movant holds a valid note and mortgage on the property located at 561 SW 60 Ave.,

Plantation, FL 33317.

         2.    An Order Granting Debtor’s Verified Ex Parte Motion for Referral to Mortgage

Modification Mediation (Doc. No. 59) was entered on March 18, 2020.

         3.    The Third Amended Plan (Doc. No. 68) states, inter alia, that if the lender and

debtor fail to reach a settlement, then within 14 calendar days after the mediator’s Final Report is

filed, the Debtor will amend or modify the Plan to conform to Movant’s Proof of Claim without

limiting the Debtor’s rights to take the appropriate action against the claim or treat Movant outside

of the Plan.

         4.    A Final Report of Loss Mitigation was filed on January 4, 2021 (Doc. No. 93) and

a modified plan was not filed within 14 calendar days of that date.

         5.    Accordingly, Movant seeks to compel the modification of the Confirmed Plan and

require the Debtor to take the appropriate action with regard to Movant’s claim.
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       WHEREFORE, Movant respectfully requests the Court enter an order compelling the

modification of the Confirmed Plan and granting such other relief that the Court may deem just

and proper.

                                                           /s/ Gavin N. Stewart
                                                           Gavin N. Stewart, Esquire
                                                           Florida Bar Number 52899
                                                           P.O. Box 5703
                                                           Clearwater, FL 33758
                                                           P: (727) 565-2653
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                                                           E: bk@stewartlegalgroup.com
                                                           Counsel for Movant

                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served by regular mail

and CM/ECF notice this 25th day of February 2021.

                                                           /s/ Gavin N. Stewart
                                                           Gavin N. Stewart, Esquire

   VIA REGULAR MAIL
   Ralph Levi Sanders, Jr.
   561 SW 60 Ave.
   Plantation, FL 33317

   VIA CM/ECF NOTICE
   Robin R Weiner
   POB 559007
   Fort Lauderdale, FL 33355

   U.S. Trustee
   Office of the US Trustee
   51 S.W. 1st Ave.
   Suite 1204
   Miami, FL 33130
